Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 1 of 9 PageID# 973



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


    RSRART,LLC.                                      )
                                                     )
                           Plaintiff,                )
                                                     )        Civil No. l:17-cv-1077
                                                     )
                                                     )        Hon. Liam O'Grady
    BOB ROSS,INC.,                                   )
                                                     )
                           Defendant.           |
                                  MEMORANDUM OPINION

        This lawsuit arises from an ownership dispute regarding Bob Ross's intellectual property
and right of publicity. Both parties filed motions for summary judgment. The motions were fully
briefed, and the Court heard oral argument on September 7,2018. Upon consideration of the
pleadings, the oral arguments, and the evidence in the record, the Court concluded that summary
judgment for Defendant was appropriate and issued a short order to that effect on September 17,
2018 in recognition of the case's pending trial date. Dkt. 73. This Memorandum Opinion follows
to explain the basis for the Court's Order.

                                        1. DACKGROUND

       Bob Ross was a well-known painter, art instructor, and television host who died in
Florida on July 4, 1995. Plaintiff RSR Art, l.LC was founded by, among others. Bob Ross's son,
Robert Stephen Ross. Defendant Bob Ross, Inc.('-BRT') was founded by Bob Ross, his wife, and
his friends Walter and Annette Kowalski "to promote the artist Bob Ross through any and all
commercial means and media available." Dkt. 56-1 ^ 9(W. Kowalski Decl.). The parties dispute
ownership of the Bob Ross intellectual property, including the Bob Ross right of publicity.
Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 2 of 9 PageID# 974



        From 1986 to 1992, BRI registered five trademarks ofthe name and likeness of Bob Ross

with Bob Ross's written consent. Dkts. 56-6, 56-7,56-8, 56-9,& 56-10. During Bob Ross's
lifetime, BRI also sold various products featuring Bob Ross's name and likeness with Bob
Ross's knowledge and encouragement. Similarly, during Bob Ross's lifetime and with his

knowledge and consent, BRI entered into several license agreements granting third parties a
license to use Bob Ross's name and likeness. Dkts. 56-11, 56-12, 56-13. The licensing
agreements each contained language stating that BRI owned all rights to the products bearing the
Bob Ross name, likeness, biographic material, trademark or logo. Id. Defendants have also
provided a memo purportedly written by Bob Ross which states that "the greatest asset we[BRI]
own is the Bob Ross name and image." Dkt. 56-1 at 10.

        In 1994, BRI drafted an agreement stating that BRI had "sole and exclusive" commercial
and derivative rights to the Bob Ross name,image, voice, biographical material, and creative
works. Dkt. 54-3. The agreement purported to formalize in writing oral consents from Bob Ross
regarding BRI's exclusive rights "governing the use of Bob's name, likeness, image, biographic
material, and persona." Id. However,this agreement was never signed, and Bob Ross's son does
not think his father would have given BRI "all future use ofeverything that has to do with [his]
name." Dkt. 56-21 at 37.

        On May 12, 1994, Bob Ross created the Bob Ross Trust, Dkt. 54-2, which he amended
on May 25, 1995, Dkt. 54-5 ("First Amendment to the Trust"). The First Amendment to the
Trust states:


       Trustee [Bob Ross] shall assign to Donor's brother, JIMMIE L. COX,... a fifty-one
       percent(51%)interest in all rights and interests in intellectual property, and shall assign
       to Donor's son, ROBERT STEPHEN ROSS,... a forty-nine percent(49%)interest [in]
       said rights and interests in intellectual property, to include all rights, title, interests,
       goodwill, artist's moral rights, resale royalty rights, and renewal rights ... in any and all
       intellectual property ... including, but not limited to, copyrights and trademarks
Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 3 of 9 PageID# 975



        regarding Donor's name, likeness, voice, and visual, written or otherwise recorded works.
        Further, such rights hereby conveyed extend to all versions, subsidiary, and derivative
        embodiments of the rights; and hereby empower the Trustee to act to license ...[and]
        reclaim ... such works and rights, including the power to defend, rescind or enforce
        related contracts or other actions by filing suit in law or equity.
Id. at 3-4.

        On the same day he amended the Trust, Bob Ross signed an "Assignment of Rights and
Interests in Intellectual Property." Dkt. 54-4. This document granted to Bob Ross, as trustee,
        all rights, title, interests, goodwill, artist's moral rights, resale royalty rights, and renewal
       rights, whether vested, statutory, common law, contingencies, or expectancies in any and
       all intellectual property ... including, but not limited to, copyrights and trademarks
       regarding my name, likeness, voice, and visual, written or otherwise recorded works.
       Further, such rights hereby conveyed extend to all versions, subsidiary, and derivative
       embodiments of the rights; and hereby empower the Trustee to act to license ...[and]
       reclaim... such works and rights, including the power to defend, rescind or enforce
       related contracts or other actions by filing suit in law or equity.
Id. at 1-A. No document was signed to transfer the rights from the trustee to Jimmie Cox and
Robert Stephen Ross as required by the First Amendment to the Trust until a nmc pro tune was
signed in 2017. See Dkt. 54-6.

       On July 4, 1995, Bob Ross died in Florida and Jimmie Cox became the trustee of the Bob
Ross Trust. BRl continued to develop, market, and sell Bob Ross products after Bob Ross's
death. Bob Ross s son, one of Plaintiff RSR Art's founders, continued to actively participate in
BRl activities promoting Bob Ross even after Bob Ross's death. Dkt. 56 at 17.

       In April 1997, the frust and Bob Ross's Estate signed a Settlement Agreement with
Defendant BRl stating:

       FIDUCIARIES [the Trust and the Estate] acknowledge that, to the best ofthe knowledge
       of the FIDUCIARIES,BRl has sole and exclusive ownership of all rights in and to all of
       the creative works of Robert N. Ross and excepting any transfer, assignment, or other
       action made by BRl or Robert N. Ross during his lifetime. Reciprocally, BRl warrants
       that to the best of its knowledge, all such creative works were prepared by Robert N.
       Ross as work made for hire' on behalf of BRl and so made by Robert N. Ross as an
       employee of BRl,for which Robert N. Ross was paid a regular salary plus other benefits
       during his lifetime....
Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 4 of 9 PageID# 976



        If any such rights or incidents of ownership in and/or to any ofthe foregoing copyrights,
        trademarks, publications, television series, creative works or other assets of BRI of any
        kind or character have somehow [vested in, could be claimed as vesting in, or could be
        claimed as assets of] the FICUCIARIES,the FIDUCIARIES hereby convey, transfer and
        assign all such rights and incidents ofownership and claims and ownership itself to BRI,
        further warranting that neither the FIDUCIARIES nor anyone on behalfof the
        FIDUCIARIES has done any act to encumber any part or all thereof.
Dkt. 56-16 at 2-3.

        The Settlement Agreement was accompanied by an Assignment, which stated that the
Bob Ross trademarks and all artworks created by Bob Ross after BRI was founded were the sole

property of BRI. Dkt. 56-17 at 2. The Assignment also provided that:

       [Bob Ross's] ESTATE will not, alone or with others, directly or indirectly, challenge any
       of BRI's said ownership or rights in or to any or all of the foregoing copyrights,
        trademarks, artworks, television programs, television series, books, companion books or
        other assets of BRI, nor attempt to or in fact procure, support, aid, encourage or promote
        any such challenge....

        To the extent, if any, any such rights or incidents of ownership are somehow vested in
        ESTATE,ESTATE hereby conveys, transfers and assigns all such rights and incidents of
        ownership and ownership itself to BRI....

Id at 3.


        Both the Estate and the Trust also signed separate Mutual Releases with BRI which state
that the parties and their heirs, assigns, successors in interest, etc.,"do, now and forever,
absolutely and irrevocably, hereby release each other in and from any and all claims, suits,
liabilities, complaints, losses, damages, and charges ofevery kind and character arising prior to
the date ofexecution hereof." Dkts. 56-18, 56-19.

       On October 27, 2016, Jimmie Cox transferred all his rights under the First Amendment to
the frust to Robert Stephen Ross, Bob Ross's son. Dkt. 54-7 at 2. In the assignment. Cox
described those rights as including, among other things, "all other intellectual property, such as
rights of publicity, copyright,[and] trademark      " Id.
Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 5 of 9 PageID# 977



        On February 10,2017, Robert Stephen Ross transferred his rights to the Bob Ross
intellectual property to Plaintiff, RSR Art. Dkt. 54-8. On May 26, 2017 Jimmie Cox, as trustee,
executed a mine pro tune assignment that purported to transfer Bob Ross's intellectual property
rights from Jimmie Cox as trustee to Jimmie Cox and Robert Stephen Ross as specified in and
required by the First Amendment to the Trust effective July 5, 1995.
        On September 25, 2017, Plaintiff filed suit against Defendant for BRI's continued use

and licensing of the Bob Ross intellectual property and right of publicity. The Complaint alleges
three counts;(1) false representations in selling and licensing products bearing the Bob Ross
name and likeness in violation of the Lanham Act and state law,(II) misappropriation of the Bob
Ross right of publicity, and (III) cancellation of trademark registrations. Dkt. 1. Plaintiff moved
for partial summary judgment on Count II, asking the Court to find that(1)Plaintiffowns Bob
Ross's right of publicity,(2)Defendant lacks rights or claims to Bob Ross's right of publicity,
and (j)Defendant has infringed Plaintiffs rights. Dkt. 48. Defendant also moved for summary
judgment, arguing the Complaint should be dismissed for three reasons;(1)Plaintiff lacks
standing to bring its claims as it does not own the intellectual property rights at issue,(2)
Plaintiffs claims are barred by the applicable statutes of limitation, and (3)Plaintiffs claims are
barred by the doctrine of laches. Dkt. 53.

                                    II. LEGAL STANDARD

       Summary judgment is appropriate where, viewing the facts in the light most favorable to
the non-moving party, there remains no genuine issue of material fact and the movant is entitled
to judgment as a matter of law. Fed. R. Civ. P. 56(a); Marlow v. Chesterfield Cty. Seh. Bd.. 749
F. Supp. 2d 417,426(E.D. Va. 2010). A party opposing a motion for summary judgment must
respond with specific facts, supported by proper documentary evidence, showing that a genuine
 Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 6 of 9 PageID# 978



  dispute of material fact exists and that summary judgment should not be granted in favor ofthe
  moving party. See Anderson v. Liberty Lobby, Inc., All U.S. 242,250(1986). Conclusoiy
  assertions of state of mind or motivation are insufficient to defeat summary judgment. Goldberg
  V. B. Green & Co., 836 F.2d 845,848(4th Cir. 1988). Further, as the Supreme Court has held,
   the mere existence ofsome alleged factual dispute between the parties will not defeat an
 otherwise properly supported motion for summary judgment; the requirement is that there be no
 genuine issue of material facX."'Anderson,447 U.S. at 247-48(emphasis in original).
                                               III. ANALYSIS

          Defendant is entitled to summaiy judgment because Plaintiff does not own the
 intellectual property at issue and Plaintiffs claims are barred by the statute of limitations.
                    Plaintiff Does Not Own the Bob Ross Intellectual Pronerty-
         For Plaintiff to have standing in this lawsuit, Plaintiff must own the Bob Ross intellectual
 property rights, including the Bob Ross right of publicity.' See, e.g., Lujan v. Defs. of Wildlife,
 504 U.S. 555,560(1992)(explaining that Plaintiffs must have suffered an "injury in fact" to
 have constitutional standing); E. Iowa Plastics, Inc. v. PI, Inc., 832 F.3d 899,903-04(8th Cir.
 2016)(holding the plaintiff lacked standing to seek trademark cancellation because the plaintiff
 did not establish another violation ofthe trademark laws); Gaia Techs., Inc. v. Reconversion
 Techs., Inc., 9j F.3d 774, 111(Fed. Cir. 1996)("Absent ownership ofthe Intellectual Property,
[Plaintiff] lacked standing to sue on the" intellectual property infringement claims.); Coach
House Rest., Inc. v. Coach & Six Rests., Inc.,934 F.2d 1551, 1557(11th Cir. 1991)(stating that
in order to have standing for a trademark cancellation claim, the plaintiff must show that it is
hkely to be damaged from continued registration). Standing is a threshold jurisdictional

'ETWCorp.v. Jireh Pubfg. Inc., 332 F.3d 915,928(6th Cir. 2003)("The right of publicity is an intellectual
property right...
Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 7 of 9 PageID# 979



 requirement in every federal case and can be raised by a defendant at any time. Nat 7 Org.for
 Women, Inc. v. Scheidler,510 U.S. 249,255 (1994). Upon careful review ofthe parties'
 arguments and the summary judgment exhibits, the Court is persuaded that Plaintiff does not
own the rights to the Bob Ross intellectual property, including the right of publicity. As a result.
Plaintiff does not have standing to bring this lawsuit and,even if it did. Defendant would be
entitled to judgment as a matter of law.

         The record demonstrates that Bob Ross gave BRI the right to his intellectual property and
right of publicity during his lifetime. While there is no formal written agreement assigning those
rights to BRI, there is ample evidence in the record supporting that the unsigned written
agreement would have merely formalized Bob Ross's oral grant ofthe exclusive rights to his
intellectual property and right of publicity to BRI. Bob Ross formed BRI- a company he
endowed with his name — with his wife and the Kowalskis to commercially promote his name
and likeness. In a memorandum. Bob Ross described his name and likeness as being the best
thing "we"- BRI - owned. Dkt. 56-1 at 10. And throughout his lifetime, Bob Ross acted as
though and consented to documents stating that BRI held exclusive rights to his name,image and
likeness. With Bob Ross's explicit consent, BRI registered multiple trademarks utilizing Bob
Ross's name and likeness. Dkts. 56-6, 56-7, 56-8, 56-9,& 56-10. Also with Bob Ross's consent,
BRI entered into various licensing agreements which stated that BRI, not Bob Ross, exclusively
owned the relevant rights and intellectual property. Dkts. 56-11 at 2,56-12 at 8, 56-13 at 2.
There is therefore ample evidence in the record demonstrating that Bob Ross gave BRI the rights
to his intellectual property and right of publicity during his lifetime and before he created the
Trust.
Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 8 of 9 PageID# 980



          Because he had already invested his rights with BRl when he created the Trust, Bob Ross

did not have any rights- including the right "to revoke" prior assignments- to transfer through
the Trust. Thus, even if the nuncpro tune cured the defect in the chain of title to the Trust's

assets. Plaintiff would not own the intellectual property at issue because the Trust never owned

it. Similarly, because Bob Ross gave BRI his right to publicity during his lifetime, it could not

have transferred to his son on his death.^

          More importantly, the Trust ended any claim it may have had to the Bob Ross intellectual

property when it signed the broadly worded 1997 Settlement Agreement and accompanying

documents. As part of the Settlement Agreement, BRI,the Trust, and Bob Ross's Estate all

agreed that "BRI has sole and exclusive ownership of all rights in and to all ofthe creative works

of Bob Ross and that any rights or claims of ownership either the Trust or the Estate may have
held were thereby "convey[ed], transfer[ed] and assign[ed]" to BRI. Dkt. 56-16 at 2-3. The Trust

and the Estate also signed Mutual Releases with BRI releasing any claims that arose prior to the
execution ofthe Mutual Release, which included ownership disputes regarding the Bob Ross
intellectual property and right of publicity. Dkts. 56-18, 56-19.

         1 hus. Bob Ross's and BRl's course of conduct throughout Bob Ross's lifetime and the

1997 Settlement Agreement demonstrate that BRI owns the Bob Ross intellectual property and
right of publicity. As a result, Plaintiff lacks standing to sue and, in any event, BRI would be
entitled to judgment as a matter of law.

         B.        Plaintiffs Claims Are Barred bv the Statutes of Limitation.s.

         Alternatively, even if Plaintiff did own some rights to the Bob Ross intellectual property
and right of publicity. Plaintiffs claims would be barred by the applicable two-year and five-


- Under Florida law, oral consent is sufficient to transfer publicity rights during a grantor's lifetime. See Fla. Stat.
§540.08(1).

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Case 1:17-cv-01077-LO-TCB Document 74 Filed 04/01/19 Page 9 of 9 PageID# 981



year statutes of limitations. BRJ has held itself out as owning the Bob Ross intellectual property

and right of publicity for decades, both before and after Bob Ross's death. It has expended large

amounts of effort, time, and resources commercializing Bob Ross's name and likeness and

defending those rights since its incorporation and after Bob Ross's death. Moreover, as noted

above, the Trust and Estate transferred any rights they may have held to the Bob Ross

intellectual property to BRI as part of the Settlement Agreement in 1997. Thus, while BRI may

have expanded its commercialization of the Bob Ross intellectual property in recent years, BRJ

has asserted exclusive ownership of the Bob Ross intellectual property and right of publicity

since at least 1997. Accordingly, all of Plaintiffs claims are barred by the statutes of limitations.

                                       IV. CONCLUSION


       For these reasons, and for good cause shown,the Court DENIED Plaintiffs' Motion for

Partial Summary Judgment(Dkt. 48)and GRANTED Defendant's Motion for Summary

Judgment(Dkt. 53). Judgment shall issue through a separate order.




MarchU_,2019
Alexandria, Virginia
                                                              LiamO'^dy
                                                              United States District Judge
